hAO 2458          Case
                  (Rcv.  2:11-cr-20043-PKH
                                  in a CriminalCase
                      06/05)Judgment                     Document 86        Filed 04/04/12         Page 1 of 6 PageID #: 200
                  SheetI



                                                                Counr
                                                         DISTRICT
                                             UhrrrEDSTATES
                              WESTERN                             Districtof                           ARKANSAS
             UNITEDSTATESOF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                      V.
                                                                        CaseNumber:                    2:I I CR20043-003
              MATTHEWDAVIS REMALEY
                                                                        USMNumber:                     07574-010

                                                                        JackSchisler
                                                                        DelEndant's
                                                                                 Attornoy
THE DEFENDANT:
X pleadedguiltyto count(s) Two (2) of the Indictmenton December5, 201I
E pleadednolo contendereto count(s)
  which was acceptedby the court.

E was found guilty on count(s)
  after a plea of not guilty.

The defendantis adjudicatedguilty ofthese offenses;

Titlc4$cqtior                           Natureof Offense                                               OiftnsclEndcd         Count
2 l u . S . C$. 8 a l ( a ) ( l )                with Intentto DistributeMethamphetamine,
                                        Possession                                    a                0712612011             )
                                               II ControlledSubstance
                                        Schedule




       The defendantis sentencedas provided in pages2 through              of this judgment. The sentenceis imposedwithin the
statutoryrangeand the U.S. SentencingGuidelineswere consideredas advisory.

             hasbeenfoundnot guiltyon count(s)
n the defendant
X Count(s)                          One(l)                X is                  on themotionof theUnitedStates.
                                                                  n are dismissed

         It is orderedthatthedefendant   mustnotifvtheunitedstatesaftornevfor thisdistrictwithin30 daysof anvchangeof name,residence,
or mailingaddress  untilall fines,restitution,                        imilosedby thisjudgmentarefully paid.-If ordEred
                                            co$ts,andspecialassessments                                              to payrestitution,
thedefen*dant   mustnotirythecourtandUnitedSiatesattorneyof materialchanges                 circumstan-ces.
                                                                                in ecoriom-ic

                                                                        Anril2. 2012
                                                                        Dateof Imposition
                                                                                        of Judgrnent


                                                                        / s / P. K. Holmes.III
                                                                        SignatureofJudge




                                                                        I{onorableP. K. Holmes.III. Chief United StatesDistrictJudEe
                                                                        NamcandTitlc of .ludgc


                                                                        Anril3.20l2
AO 2458    Case
          (Rev.    2:11-cr-20043-PKH
              06/05) Judgruent
                            in CrinrinalCase     Document 86         Filed 04/04/12         Page 2 of 6 PageID #: 201
          Sheet2 - Imnrisonment
                                                                                              Judgment* Page -!-   ot
DEFENDANT:                MATTHEWDAVIS REMALEY
CASENUMBER:               2:I 1CR20043-003


                                                       IMPRISONMENT

                                     to thecustodyof theUnitedStatesBureauof Prisonsto be imprisoned
                    is herebycommiffed
         Thedefendant                                                                              for a
totaltermof:                                with docketnumber2:05CR20039-001.
                46 monthsto run consecutively




      X   Thecourtmakesthefollowingrecommendations  to theBureauof Prisons:
          The defendantbe allowed to participatein any availabledrug treatmentprograms.




      X Thedefendant        to thecustodyof the UnitedStatesMarshal.
                  is remanded

      n Thedefendantshallsurrenderto theUnitedStatesMarshalfor thisdistrict:
          ! a                                  tr a,m.    n p.m.     on
          n    a$notifiedby theUnitedStatesMarshal.

      n   Thedefendant           for serviceof sentence
                    $hallsurrender                                              by theBureauof Prisons:
                                                      at theinstitutiondesignated

          tr   before2 p.m.on

          n    asnotifiedby the UnitedStatesMarshal.

          tr   asnotifiedby the Probation
                                        or PretrialServices
                                                          Office.


                                                            RETURN
 I haveexecuted
              thisiudsmentasfollows:




          Defendant
                 delivered

                                                , with a certifiedcopyof thisjudgment.



                                                                                            TJNITED
                                                                                                  STATESMARSHAI,


                                                                   By
                                                                                         DEPU.Y UNITEDSTATESMARSHAI,
nO 2458        Case
              (Rev.    2:11-cr-20043-PKH
                  06/05)Judgmentin a CriminalCase   Document 86           Filed 04/04/12        Page 3 of 6 PageID #: 202
              Sheet3 - Supervised
                                Release
                                                                                                     Judgment-Page -3-       of -6-
DEFENDANT:  MATTHEWDAVIS REMALEY
CASENUMBER: 2:11CR20043-003
                                                     SUPERVISEDRELBASE
                          thedefendant
          flom imprisonment,
Uponrelease                                             releasefor a termof :
                                    shallbe on supervised                                         3 years




    Thedefendant mustreportto the probationofficein thedistrictto whichthedefendant        within72 hoursof releasefrom the
                                                                                 is released
custodyofthe BureauofPrisons,
          shallnot commitanotherfederal,stateor localcrime.
Thedefendant
Thedefendant  shallnot unlawfullypos$ess                       Thedefendant
                                          a controlledsubstance.             shallrefrainftom anyunlawfuluseofa controlled
substance.  Thedefendant                                                   from imprisonment
                         shallsribinitto onedrugtestwithin l5 daysof release                  anilat lea$ttwo periodicdrugtests
thereafter,asdetermined by the court.
n    Theabovedrugtestingconditionis suspended,    basedon thecourt'sdetermination thatthedefendant posesa low riskof
     futuresubstanceabuse.(Check,if applicable.)
X                   shallnot possess
          Thedefendant                                destructive
                                   a firearm,ammunition,                                  weapon.(Check,if applicable')
                                                                device,or anyotherdangerous

X         Thedefendant           in thecollectionof DNA asdirectedby theprobationofficer. (Check,if applicable.)
                    shallcooperate

 n        Thedefendant  shallregisterwith thestatesexoffenderregistrationagencyin thestatewherethedefendant    works,or is a
                                                                                                         resides,
          student,asdirectedby the probationofficer. (Check,if applicable.)
 n                   shallparticipate
          Thedef'endant                                              violence.(Check,if applicable.)
                                    in an approvedprogramfor dornestic
      If this iudgment
                     imposes                        it is a conditionof supervised
                               a fine or restitution,                                                  payin accordance
                                                                                 releasethatthedef'endant              with the
 Schedule  ofPainnents stieetof thisludgment,
      Thedefendant  mustcornplywith thestandard      conditions thathavebeenadoptedby thiscouftaswell aswith anyadclitional
                                                                                                                          conditions
 on theattached  page.

                                       STANDARDCONDITIONSOF SUPERVISION
     I)              shallnot leavethejudicialdistrictwithoutthepermission
           thedefendant                                                  of thecouftor probationofficer;
     ?)    thedefendantshallreportto the probationofficer andshallsubmita truthfulandcompletewrittenfepoft within the first five daysof
           eachmonth:
     3)    thedefendant                                                                             of theprobationofficer;
                     shallanswertruthfullyall inquiriesby theprobationofficerandfollowtheinstructions
     4)               shallsupporthis or herdependents
           thedefendant                                andmeetotherfamilyresponsibilities;
     5)                                                       unlessexcused
                       shallwork regularlyat a lawfuloccupation,
           the defendant                                                    by theprobationofficerfor schooling,
                                                                                                               training,or other
           acceptable
                    reasonsl
     6)    the defendantshall notify the probation officer at leastten daysprior to any changein residenceor employment;
     7)    the defendantshall refrain from excessiveuse ofalcohol and shall not purchase,possess,use,distribute,or adilinister any
           controlledsubstanceor any paraphernaliarelatedto any controlledsubstances,  eicept as prescribedby a physician;
     8)                                                                  are illegally sold, used,distributed,or administered;
           the defendantshall not frequentplaceswhere controlledsubstances
     e) the defendantshall not associatewith any personsengagedin qriminal activity and shall not associatewith any personconvictedof a
           felony, unlessgrantedpermissionto do do^bythe probaTionofficer;
  l 0 ) the defenclantshallpermit a probationofficer to visit him or her at any time at home or elsewhereand shall permit confiscationof any
           contrabandobservedin plain view ofthe probationofftcer;
  I l)     thedefendant shallnotifytheprobationofficerwithinseventy-two   hoursof beingarrested or questioned
                                                                                                            by a lawenl'orcement
                                                                                                                               officer;
  l2)'     the defendantshallnot enterinto any agreement to act as an informeror a specialagentof a law enforcement  agencywithoutthe
           permissionof thecourt;and
  I3)'     asdirectedbv thenrobationofficer.thedefendant shallnotifuthirdpartiesof risksthatmaybeoccasioned   by thedefendant's
                                                                                                                              criminal
           recordor peisonalhistoryor characteristicsand shallpeniritthe'probation   officerto rnakesuchnotificationsandto confitmthe
           defendant"scompli ancewith suchnotificationrequirement.
Ao 2458   Case   2:11-cr-20043-PKH
          (Rev.06/05)      in a CrinrinalCase Document 86
                    Judgment                                 Filed 04/04/12      Page 4 of 6 PageID #: 203
          Sheet3C - Supcrvised
                             Relense
                                                                                     Judgmen(-Page -{-    of -6-
DEFENDANT:            MATTHEWDAVIS REMALEY
CASENUMBER:           2:I 1CR20043-003

                                  SPECIAL CONDITIONSOF SUPERVISION


L The defendantshall submit his person.residence.place of employment,and vehicle to a searchconductedby the United
StatesProbationOffice at a reasonabletime and in iirieasonableinarinerbasedupon reasonablesuspicionof evidenceof
violation of any condition of superuisedrelease. The defendantshall warn any dther residentsthatlheir premisesmay be
subjectto searih pursuantto this condition. Failure to submit to a searchmay be groundsfor revocation.

2, hr additionto the mandatorvdrug testing requirements,the defendantshall comply with any referral deemedappropriate
by the U.S. ProbationOfficer fo. lnlpatientor ciurpatientevaluation,treatment,coirriselingor-testingfor substanCe
                                                                                                                abuse.
AO 2458   (Rev.06/05)Judgmentin a CrirninalCase
           Case    2:11-cr-20043-PKH
               5 - friminal
          56,;e1            MonetaryPenalties      Document 86                  Filed 04/04/12     Page 5 of 6 PageID #: 204
                                                                                                   Judgment- Itage -l-      ol' -6-
DEFENDANT:                     MATTHEWDAVISREMALEY
CASENUMBER:                    2 :l 1 C R 2 0 0 4 3 -0 0 3
                                         CRIMINAL MONETARY PENALTIES
                                             penalties
               mustpaythetotalcriminalmonetary
     Thedefendant                                                   of payments
                                                     undertheschedule         on Sheet6.


                    A$$e$sment                                           Fine                             Restitutiqu
TOTALS           s 1 0 0 .0 0                                        $ -0-                             s -0-

 !   Thedeterminationof restitutionis defeneduntil                   An Amended Judgment in a Criminal Case(AO 245C) will be entered
     aftersuchdetertnination.

 n   Thedefendant                                               to thefollowingpayeesin theamountlistedbelow,
               mustmakerestitution(includingcommunityrestitution)

     If thedefendantmakesa partialpa)4xent,
                                          eachpayeeshallreceiveanapproximatelyproportioned
                                                                                         payment,  unless
                                                                                                        speci.fied       in
                                                                                                                 otherwise
     thepriorityorderor perc-entage      coluninbelow. However,puis'uant
                                   pa'ymenf                                                               victimsmustbepaid
                                                                       to l8'U.S.C.$ 3664fi),'allnonfederal
                            is paid.'
     befrirethe'UnitedStrites

Name of Payee                             Total Loss*                            Restitution Ordered                Prioritvor Percentage




TOTALS


 n                                 to pleaagreement$
               amountorderedpursuant
     Restitution

 n   Thedefendant  mustpayintereston restitutionanda fineof morethan$2,500,unlesstherestitutionor fine is paidin full beforethe
     fifteenthdayafterthedateof thejudgment,pursuant  to I I U.S.C.$ 3612(f). All of thepaymentoptionson Sheet6 maybe subject
     to penalties             anddefault,pursuant
                for delinquency                   to I8 U.S.C.$ 3612(g).

 n   Thecourtdetermined             doesnothavetheabilityto payinterestandit is orderedthat:
                      thatthedefendant

     tr   theinterest        is waivedfor the
                    requirement                           !       fine   n   restitution.

     tr   theinterestrequirement
                              for the         tr   fine       !               is modifiedasfbllows:
                                                                    restitution


* Findingsforthetotal                             109A,I10, I l0A,andl l34ofTitle lSforoffensescommittedonorafter
                  amountoflossesarerequiredunderChapters
Septembtr13,1994,butbeforeApril 23, 1996.
A() 2458    (Rev. 06/05) Judgmentin a Criminal Case
                Case 2:11-cr-20043-PKH
            Sheet6 - Scheduleof Pavments                  Document 86         Filed 04/04/12       Page 6 of 6 PageID #: 205
                                                                                                      Judgmcnt* Page -.,$-   ot
 DEFENDANT:                  MATTHEW DAVIS REMALEY
 C A S EN U M B E R :        2:I 1CR20043-003

                                                          SCHEDULEOF PAYMENTS

                         abilityto pay,paymentof thetotalcriminalmonetarypenalties
             thedefendant's
 Havingassessed                                                                  aredueasfollows;

 A    X     Lumpsumpaymentof $             100.00               dueimmediately.

            n     not laterthan                                     'of
            !     in accordance n             C,      n    D,   n    E,or    I     F below;or

 B        n Payment               (maybecombined
                 to beginimmediately           with                         n C,       I D, or   ! F below);or
 C t r Paymentin equal                        (e,g.,weekly,monthly,quarterly)installmentsof $                  overa periodo[
                           (e.g.,monthsor years),to commence            (e.g.,30 or 60 days)afterthedateof thisjudgment;or

      I     Paymentin equal               (e.g.,weekly,monthly,quarterly)installmentsof $                 over a period of
                       (e.g.,monthsor years),to commence            (e,g,,30 or 60 days)afterrelease
                                                                                                   from imprisonment  to a
            termofsupervision;
                             or

      !     Payment                         release
                   duringthetermof supervised     will commencewithin             (e.g.,30 or 60 days)afterreleasefrom
                        Thecourtwill setthepaymentplanbasedon an assessment
            imprisonment.                                                of thedefendant'sabilityto payat thattime;or

      n     Specialinstructions       thepaymentof criminalmonetary
                              regarding                           penalties:




 Unlessthecoufthasexpresslv               if thisiudsmentimposes
                          orderedotherwise.                               payrnent
                                                               imprisonment.                        penalties
                                                                                  of criminalmonetary       is dueduring
 imprisonment.All criminalmonetarypenaltie's,exce"pt            madethrouglithe FederalBureauof Prisons'InmateFinancia-l
                                                    [hosepayments
 Re'sponsibility
             Program, aremadeto theclerkof'thecourt.

 Thedefendant                               previouslymadetowardanycriminalmonetarypenalties
           shallreceivecreditfor all payments                                              imposed.



 n    Joint and Several

      Defendantand Co-DefendantNamesand CaseNumbers(including defendantnumber),Total Amount, Joint and SeveralAmount,
      and corespondingpayee,if appropriate.




 n              shallpaythecostofprosecution.
      Thedefendant

 X              shallpaythefollowingcourtcost(s):
      Thedefendant

 n    Thedefendant                      interestin thefollowingpropeftyto theUnitedStates:
                shallforfeitthedefendant's




 Paynentsshallbe appliedin thefollowingorder:(l) assessment,(2) restitution                               (4) fineprincipal,
                                                                          principal,(3) restitutioninterest,
 (5) fine interest,
                 (6)'cbmrnunity         (7) perialties,
                             restitution*,           and(8) cbits,includingcostbf prbiecutionandcour-tcosts.
